Case 2:24-cr-00091-ODW                  Document 184 Filed 11/20/24                     Page 1 of 2 Page ID
                                                #:2262
                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                                                 CASE NUMBER:


USA                                                                2:24−cr−00091−ODW
                                                 Plaintiff(s),

         v.
ALEXANDER SMIRNOV
                                                                   NOTICE TO FILER OF DEFICIENCIES IN
                                               Defendant(s).               FILED DOCUMENT




PLEASE TAKE NOTICE:

The following problem(s) have been found with your filed document:

Date Filed:         11/19/2024
Document No.:             183
Title of Document:             NOTICE OF LODGING filed by Defendant Alexander Smirnov
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                                                      Clerk, U.S. District Court

Dated: November 20, 2024                              By: /s/ Linda Chai Linda_Chai@cacd.uscourts.gov
                                                         Deputy Clerk

cc: Assigned District Judge and/or Magistrate Judge



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